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                            EXHIBIT 2
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Reg. No. 5,312,449         Crystal Lagoons (Curacao) B.V. (CURACAO LIMITED LIABILITY COMPANY)
                           2nd Floor
Registered Oct. 17, 2017   Kaya W.f.g. (jombi) Mensing 14
                           Willemstad, CURACAO
Int. Cl.: 1, 11, 37, 40    CLASS 1: Chemicals for water treatment

Service Mark               FIRST USE 6-26-2007; IN COMMERCE 6-26-2007

Trademark                  CLASS 11: Apparatus and machines for purifying water, apparatus for filtering water,
                           drinking water filters, water purification plants, sewage treatment plants, distillation apparatus
Principal Register         not for scientific purposes, water sterilizers

                           FIRST USE 6-26-2007; IN COMMERCE 6-26-2007

                           CLASS 37: Installation, maintenance, conservation and repair services of machines intended
                           for treating water used for recreational, industrial or ornamental purposes, excluding
                           apparatus and machines for purifying water, apparatus for filtering water, drinking water
                           filters, water purification plants, sewage treatment plants, distillation apparatus, and water
                           sterilizers; maintenance services, conservation and repair of water treatment plants, artificial
                           lakes, artificial floating man-made lakes, dams and drinking water supplies; building and
                           installation services of water treatment plants, artificial lakes, artificial floating man-made
                           lakes, dams and drinking water supplies; construction, installation, maintenance, conservation
                           and repair services of water treatment systems to maintain water quality of artificial lagoons,
                           artificial floating man-made lakes, dams and drinking water supplies

                           FIRST USE 6-26-2007; IN COMMERCE 6-26-2007

                           CLASS 40: Consulting services on water treatment and purification services; consulting
                           services on physical and chemical transformation services of natural water and sewage;
                           consulting services on water infiltration services; consulting services on services of cooling
                           industrial plants by water; consulting services on water desalination service through
                           membranes, distillation, filtrations and other means; consulting services on treatment
                           materials used in the fields of treatment materials processing plants and industrial plants
                           related to conservation, construction and improvement of soil, water plants treatment, dams,
                           drinking water reservoirs, artificial lagoons, artificial floating man-made lagoons; water
                           purification services

                           FIRST USE 6-26-2007; IN COMMERCE 6-26-2007

                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           OWNER OF U.S. REG. NO. 3881936
Case 2:20-cv-00851-BSJ Document 79-2 Filed 02/02/21 PageID.1141 Page 4 of 14



                      No claim is made to the exclusive right to use the following apart from the mark as shown:
                      "LAGOONS"

                      SER. NO. 86-982,887, FILED 04-08-2016




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      REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
   WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
          DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

 Requirements in the First Ten Years*
 What and When to File:

      First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
      years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
      registration will continue in force for the remainder of the ten-year period, calculated from the registration
      date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

      Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
      for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


 Requirements in Successive Ten-Year Periods*
 What and When to File:

      You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
      between every 9th and 10th-year period, calculated from the registration date.*


 Grace Period Filings*

 The above documents will be accepted as timely if filed within six months after the deadlines listed above with
 the payment of an additional fee.

 *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
 extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
 (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
 The time periods for filing are based on the U.S. registration date (not the international registration date). The
 deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
 nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
 do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
 international registration at the International Bureau of the World Intellectual Property Organization, under
 Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
 date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
 international registration, see http://www.wipo.int/madrid/en/.

 NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
 USPTO website for further information. With the exception of renewal applications for registered
 extensions of protection, you can file the registration maintenance documents referenced above online at h
 ttp://www.uspto.gov.

 NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
 owners/holders who authorize e-mail communication and maintain a current e-mail address with the
 USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
 Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
 available at http://www.uspto.gov.




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Reg. No. 5,454,097         Crystal Lagoons (Curacao) B.V. (CURACAO LIMITED LIABILITY COMPANY)
                           2nd Floor
Registered Apr. 24, 2018   Kaya W.f.g. (jombi) Mensing 14
                           Willemstad, CURACAO
Int. Cl.: 1                CLASS 1: chemicals to purify water in swimming pools, artificial lakes, artificial floating
                           man-made lagoons, water supplies and dams
Trademark
                           FIRST USE 6-26-2007; IN COMMERCE 6-26-2007
Principal Register
                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           OWNER OF U.S. REG. NO. 3881936

                           No claim is made to the exclusive right to use the following apart from the mark as shown:
                           "LAGOONS"

                           SER. NO. 86-969,922, FILED 04-08-2016
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      REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
   WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
          DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

 Requirements in the First Ten Years*
 What and When to File:

      First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
      years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
      registration will continue in force for the remainder of the ten-year period, calculated from the registration
      date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

      Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
      for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


 Requirements in Successive Ten-Year Periods*
 What and When to File:

      You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
      between every 9th and 10th-year period, calculated from the registration date.*


 Grace Period Filings*

 The above documents will be accepted as timely if filed within six months after the deadlines listed above with
 the payment of an additional fee.

 *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
 extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
 (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
 The time periods for filing are based on the U.S. registration date (not the international registration date). The
 deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
 nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
 do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
 international registration at the International Bureau of the World Intellectual Property Organization, under
 Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
 date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
 international registration, see http://www.wipo.int/madrid/en/.

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 USPTO website for further information. With the exception of renewal applications for registered
 extensions of protection, you can file the registration maintenance documents referenced above online at h
 ttp://www.uspto.gov.

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 USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
 Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
 available at http://www.uspto.gov.




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    Case 2:20-cv-00851-BSJ Document 79-2 Filed 02/02/21 PageID.1145 Page 8 of 14




Reg. No. 5,465,084             CRYSTAL LAGOONS (Curacao) B.V. (CURACAO LIMITED LIABILITY COMPANY)
                               2nd Floor
Registered May 08, 2018        Kaya W.f.g. (jombi) Mensing 14
                               Willemstad, CURACAO
Int. Cl.: 35, 37, 39, 40, 42   CLASS 35: (Based on Use in Commerce) Business consulting services relating to the
                               implementation and administration of processing plants and industrial plants related to
Service Mark                   conservation, construction and improvement of land, water treatment plants, dams, drinking
                               water reservoirs, artificial lagoons, artificial floating man-made lagoons
Principal Register
                               FIRST USE 6-26-2007; IN COMMERCE 6-26-2007

                               CLASS 37: (Based on 44(e)) Maintenance and construction services of water treatment
                               plants, artificial lagoons, artificial floating man-made lagoons, dams and drinking water
                               supplies; maintenance and construction services of water treatment systems to maintain water
                               quality in artificial lagoons, artificial floating man-made lagoons, dams and drinking water
                               supplies

                               CLASS 39: (Based on 44(e)) Water distribution services

                               CLASS 40: (Based on 44(e)) Water purification services

                               CLASS 42: (Based on 44(e)) Engineering and design of water treatment plants, artificial
                               lagoons, artificial floating man-made lagoons, dams and drinking water supplies and
                               distribution and water purification instruction; engineering design services, related to the
                               construction of water treatment plants, artificial lagoons, artificial floating man-made
                               lagoons, dams and drinking water supplies, and distribution and water purification;
                               engineering and design of water treatment systems to maintain water quality in artificial
                               lagoons, artificial floating man-made lagoons, dams and drinking water supplies; civil
                               engineering, design and architecture services of structures in the form of dams, drinking water
                               supplies, water lifting structures, water discharge structures, lakes, artificial lagoons and
                               artificial floating man-made lagoons; laboratory service in the field of water quality, namely,
                               water purity analysis, particle analysis, pigment analysis, color analysis, bacteriological
                               analysis; technical consulting services relating to the implementation and administration of
                               processing plants and industrial plants related to conservation, construction and improvement
                               of land, water treatment plants, dams, drinking water reservoirs, artificial lagoons, artificial
                               floating man-made lagoons; professional advisory and research services, namely, scientific
                               study and research in the area of hydraulics for the water supply

                               THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                               PARTICULAR FONT STYLE, SIZE OR COLOR

                               PRIORITY CLAIMED UNDER SEC. 44(D) ON CHILE APPLICATION NO. 1192895,
                               FILED 02-25-2016, REG. NO. 1219398, DATED 09-01-2016, EXPIRES 09-01-2026
Case 2:20-cv-00851-BSJ Document 79-2 Filed 02/02/21 PageID.1146 Page 9 of 14



                      OWNER OF U.S. REG. NO. 3881936

                      No claim is made to the exclusive right to use the following apart from the mark as shown:
                      "LAGOONS"

                      SER. NO. 86-956,291, FILED 03-29-2016




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      REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
   WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
          DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

 Requirements in the First Ten Years*
 What and When to File:

      First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
      years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
      registration will continue in force for the remainder of the ten-year period, calculated from the registration
      date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

      Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
      for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


 Requirements in Successive Ten-Year Periods*
 What and When to File:

      You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
      between every 9th and 10th-year period, calculated from the registration date.*


 Grace Period Filings*

 The above documents will be accepted as timely if filed within six months after the deadlines listed above with
 the payment of an additional fee.

 *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
 extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
 (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
 The time periods for filing are based on the U.S. registration date (not the international registration date). The
 deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
 nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
 do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
 international registration at the International Bureau of the World Intellectual Property Organization, under
 Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
 date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
 international registration, see http://www.wipo.int/madrid/en/.

 NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
 USPTO website for further information. With the exception of renewal applications for registered
 extensions of protection, you can file the registration maintenance documents referenced above online at h
 ttp://www.uspto.gov.

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 owners/holders who authorize e-mail communication and maintain a current e-mail address with the
 USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
 Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
 available at http://www.uspto.gov.




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    Case 2:20-cv-00851-BSJ Document 79-2 Filed 02/02/21 PageID.1148 Page 11 of 14




Reg. No. 5,870,729         Crystal Lagoons (Curacao) B.V. (CURACAO LIMITED LIABILITY COMPANY)
                           2nd Floor
Registered Oct. 01, 2019   Kaya W.f.g. (jombi) Mensing 14
                           Willemstad, CURACAO
Int. Cl.: 43               CLASS 43: Hotel accommodation services; provision of temporary accommodation services
                           for guests; resort lodging services; services for providing food and drinks; catering services;
Service Mark               temporary accommodation reservation services; hotel services; snack-bars; restaurant
                           services; provision of food and drinks; preparation of food and drinks; none of the aforesaid
Principal Register         being offered or sold in connection with cruise ships, yachts or air travel

                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           OWNER OF CHILE , REG. NO. 1234992, DATED 01-25-2017, EXPIRES 01-25-2027

                           No claim is made to the exclusive right to use the following apart from the mark as shown:
                           "LAGOONS"

                           SER. NO. 87-191,758, FILED 10-03-2016
Case 2:20-cv-00851-BSJ Document 79-2 Filed 02/02/21 PageID.1149 Page 12 of 14



      REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
   WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
          DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

 Requirements in the First Ten Years*
 What and When to File:

      First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
      years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
      registration will continue in force for the remainder of the ten-year period, calculated from the registration
      date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

      Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
      for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


 Requirements in Successive Ten-Year Periods*
 What and When to File:

      You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
      between every 9th and 10th-year period, calculated from the registration date.*


 Grace Period Filings*

 The above documents will be accepted as timely if filed within six months after the deadlines listed above with
 the payment of an additional fee.

 *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
 extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
 (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
 The time periods for filing are based on the U.S. registration date (not the international registration date). The
 deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
 nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
 do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
 international registration at the International Bureau of the World Intellectual Property Organization, under
 Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
 date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
 international registration, see http://www.wipo.int/madrid/en/.

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 USPTO website for further information. With the exception of renewal applications for registered
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 owners/holders who authorize e-mail communication and maintain a current e-mail address with the
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 Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
 available at http://www.uspto.gov.




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    Case 2:20-cv-00851-BSJ Document 79-2 Filed 02/02/21 PageID.1150 Page 13 of 14




Reg. No. 6,042,995         Crystal Lagoons (Curacao) B.V. (CURACAO LIMITED LIABILITY COMPANY)
                           2nd Floor,
Registered Apr. 28, 2020   Kaya W.f.g. (jombi) Mensing 14,
                           Willemstad, CURACAO
Int. Cl.: 19, 36, 41       CLASS 19: Non-metal prefabricated framework platforms for building water recreation
                           facilities; non-metal framework for building water recreation facilities; frameworks for
Service Mark               building, not of metal; non-metal building materials, namely, plastic liners for use in building
                           water recreation facilities for the purposes of containing water, preventing water leakage and
Trademark                  minimizing sun damage to underlying structures, not in the nature of a tarp; cladding, not of
                           metal, for building; reinforcing materials for building, not of metal; non-metallic structures to
Principal Register         contain water; non-metal swimming pools; artificial habitat structures in the nature of non-
                           metal manmade artificial lagoons and non-metal manmade artificial floating lagoons for
                           recreational and water treatment purposes

                           FIRST USE 11-00-2010; IN COMMERCE 11-00-2010

                           CLASS 36: Real estate consultancy; real estate valuation services

                           FIRST USE 11-00-2010; IN COMMERCE 11-00-2010

                           CLASS 41: Educational services, namely, providing classes, seminars, online instruction and
                           training on the design, development, operation, management and promotion of water
                           recreation facilities, and providing related educational demonstrations; organizing community
                           sporting and cultural events; entertainment in the nature of a water park and amusement
                           center; provision of amusement parks, water parks, artificial lagoons for swimming and
                           recreational purposes, man-made floating lagoons for swimming and recreational purposes,
                           swimming pools and golf courses, all for recreational purposes

                           FIRST USE 11-00-2013; IN COMMERCE 11-00-2013

                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           OWNER OF CHILE , REG. NO. 1257649, DATED 08-23-2017, EXPIRES 08-23-2027

                           OWNER OF U.S. REG. NO. 3881936, 5312449

                           No claim is made to the exclusive right to use the following apart from the mark as shown:
                           "LAGOONS"

                           SER. NO. 87-663,162, FILED 10-27-2017
Case 2:20-cv-00851-BSJ Document 79-2 Filed 02/02/21 PageID.1151 Page 14 of 14



      REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
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 Requirements in the First Ten Years*
 What and When to File:

      First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
      years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
      registration will continue in force for the remainder of the ten-year period, calculated from the registration
      date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

      Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
      for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


 Requirements in Successive Ten-Year Periods*
 What and When to File:

      You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
      between every 9th and 10th-year period, calculated from the registration date.*


 Grace Period Filings*

 The above documents will be accepted as timely if filed within six months after the deadlines listed above with
 the payment of an additional fee.

 *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
 extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
 (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
 The time periods for filing are based on the U.S. registration date (not the international registration date). The
 deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
 nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
 do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
 international registration at the International Bureau of the World Intellectual Property Organization, under
 Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
 date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
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 USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
 Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
 available at http://www.uspto.gov.




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